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 1   James R. Hawkins (SBN 192925)
     JAMES HAWKINS APLC
 2   9880 Research Drive, Suite 200
     Irvine, CA 92618
 3   Telephone: (949) 387-7200
     Email: james@jameshawkinsaplc.com
 4
     Attorneys for Plaintiff
 5   NICHOLAS J. MCINERNY
 6   Malte L. L. Farnaes (SBN 222608)
     Christina M. Lucio (SBN 252677)
 7   FARNAES & LUCIO, APC
     2235 Encinitas Boulevard, Suite 210
 8   Encinitas, CA 92024
     Telephone: 760-942-9430
 9   Email: malte@farnaeslaw.com
             clucio@farnaeslaw.com
10
     Attorneys for Plaintiff
11   NICHOLAS J. MCINERNY
12
13                             UNITED STATES DISTRICT COURT
14                            EASTERN DISTRICT OF CALIFORNIA
15
16   NICHOLAS J. MCINERNY, on behalf of               CASE NO.: 2:23-cv-01548-JDP
     himself and all others similarly situated,
17
                 Plaintiff,                           [Hon. Jeremy D. Peterson]
18
           vs.
19
     RED ROBIN INTERNATIONAL, INC.                    JOINT RULE 26 REPORT
20   WHICH WILL DO BUSINESS IN
     CALIFORNIA AS RED ROBIN BURGER
21   SPIRITS EMPORIUMS, a Nevada
     corporation; and DOES 1 through 50,
22   inclusive,
                 Defendants.                          Complaint Filed: March 23, 2023
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 1   Adam Y. Siegel (SBN 238568)
     Adam.Siegel@jacksonlewis.com
 2   Martin P. Vigodnier (SBN 311834)
     Martin.Vigodnier@jacksonlewis.com
 3   JACKSON LEWIS P.C.
     725 South Figueroa Street, Suite 2500
 4   Los Angeles, California 90017-5408
     Telephone: (213) 689-0404
 5   Facsimile: (213) 689-0430
 6   Philip J. Smith (SBN 232462)
     Philip.Smith@jacksonlewis.com
 7   JACKSON LEWIS P.C.
     50 California Street, 9th Floor
 8   San Francisco, California 94111-4615
     Telephone: (415) 796-5433
 9
     Attorneys for Defendant
10   RED ROBIN INTERNATIONAL, INC.
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 1          Plaintiff Nicholas J. McInerny (“Plaintiff”) and Defendant Red Robin International,
 2   Inc. (“Defendant”) jointly submit this Joint Rule 26 Report following their related meet
 3   and confer efforts, and pursuant to the Court’s Order (Dkt. 23):
 4   1.     Basis for the Court’s Subject Matter Jurisdiction, Whether Any Issues Exist
 5          Regarding Personal Jurisdiction or Venue, Whether Any Parties Remain to Be
 6          Served
 7          Subject Matter Jurisdiction: Defendant contends that, on May 2, 2023, Defendant
 8   timely removed this Action to this Court pursuant to the Class Action Fairness Act
 9   (“CAFA”). See 28 U.S.C. § 1332(d)(2)(A). As further detailed in Defendant’s Notice of
10   Removal (Dkt. No. 1), the matter in controversy exceeds the sum or value of $5,000,000,
11   exclusive of interests and costs. Further, Plaintiff is a citizen of California. Defendant is
12   a Nevada corporation with its principal place of business in Colorado. Therefore,
13   Defendant is not a citizen of California for purposes of establishing diversity jurisdiction.
14          Plaintiff does not presently intend to contest subject matter jurisdiction but reserves
15   all rights.
16          Issues Regarding Personal Jurisdiction or Venue:          The Parties are presently
17   unaware of issues concerning personal jurisdiction.
18          Defendant contends that, with respect to venue, there is a related putative class and
19   representative action currently pending in the United States District Court for the Eastern
20   District of California entitled Jose Jesus Avalos-Aviles v. Red Robin International, Inc.,
21   Case No. 2:22-cv-01257-DAD-DB, that similarly seeks to represent Defendant’s non-
22   exempt employees in California during the relevant four-year limitations period
23   (“Avalos”). See also Dkt. No. 11 (Defendant’s Notice of Related Cases and Notice of
24   Pendency).
25          The Parties in the instant action and Avalos have voluntarily agreed to a private,
26   global mediation of the instant action; a representative action under the California Private
27   Attorneys General Act of 2004, California Labor Code §§ 2698 et seq. (“PAGA”) filed
28   by Plaintiff alleging Labor Code violations against Defendant in a matter entitled
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 1   Nicholas J. McInerny v. Red Robin International, Inc. et al., Superior Court for the
 2   County of San Bernadino, Case No. CIVSB2202216 (“McInerny I (PAGA)”); and Avalos.
 3   The global mediation is with experienced mediator Michael Dickstein and is scheduled
 4   for December 8, 2023.
 5         Defendant anticipates filing a motion to consolidate pursuant to Rule 42 of the
 6   Federal Rules of Civil Procedure in the U.S. District Court for the Eastern District of
 7   California, seeking an order to consolidate this action with Avalos in the Eastern District
 8   of California.
 9         Whether Any Parties Remain to Be Served: The Parties are presently unaware of
10   any parties remain to be served.
11   2.    Brief Chronology of the Facts and a Statement of the Principal Issues in Dispute
12         The Parties’ Joint Statement: On March 23, 2023, Plaintiff commenced the instant
13   class action in the Los Angeles Superior Court, Case No. 23STCV06410. Defendant
14   contends that the class action has since been timely removed to this Court pursuant to
15   CAFA.
16         The Parties have voluntarily agreed to a private, global mediation of the instant
17   action, McInerny I (PAGA), and Avalos. See Dkt. No. 11 (Defendant’s Notice of Related
18   Cases and Notice of Pendency). The global mediation is with experienced mediator
19   Michael Dickstein and is scheduled for December 8, 2023.
20         Plaintiff’s Statement: This is a putative wage-and-hour class action brought by
21   Plaintiff against Defendant alleging various violations of the California Labor Code and
22   Business Professions Code, including: (1) unpaid minimum wages; (2) unpaid overtime;
23   (3) failure to provide meal periods; (4) failure to authorize and permit rest periods; (5)
24   failure to pay wages owed upon separation from employment; (6) inaccurate wage
25   statements; (7) unlawful deductions; (8) failure to reimburse business expenses; and (9)
26   violation of the Unfair Competition Law under California Business & Professions Code §§
27   17200, et seq. (“UCL”). The putative class Plaintiff seeks to represent is comprised of all
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 1   non-exempt employees who worked for Defendant in California from March 23, 2019 to
 2   the present.
 3         Defendant’s Statement: Defendant denies all of Plaintiff’s allegations and asserts
 4   that Plaintiff and the putative class have been properly compensated in accordance with all
 5   applicable laws. Defendant further contends that Plaintiff and the putative class have been
 6   properly compensated in accordance with all applicable laws, and deny that Plaintiff and/or
 7   putative class members are entitled to any relief. Defendant further denies that this action
 8   is amenable to class or representative treatment as there are varying differences amongst
 9   the practices and procedures as to each individual employee. Defendant also denies that
10   Plaintiff is an appropriate representative for any class or subclass he seeks to represent.
11         Defendant believes that class certification should be limited to Putative Class
12   Members who were not subject to arbitration agreements and should not include Putative
13   Class Members with arbitration agreements.
14   3.    Brief Statement of the Disputed Points of Law
15         Plaintiff’s Statement:
16         Once Defendant produces all iterations of the arbitration agreements in effect during
17   the relevant time period, Plaintiff will evaluate the language of the arbitration agreements
18   to determine their impact on this putative class action. Plaintiff is aware that certain
19   versions of the arbitration agreement carve out pending litigation which purports to
20   encompass the rights or interests of the putative class members. Thus, the impact of the
21   arbitration agreements is unclear at this juncture. With regard to the merits issues, Plaintiff
22   contends that Defendant implements policies and procedures relating to minimum wages,
23   overtime, tipping, meal periods, rest periods, reimbursements, wage statements, pay cards
24   and deductions which violate the Labor Code and IWC Wage Order 5-2001.
25         Defendant’s Statement: Defendant believes that the putative class should be limited
26   to non-exempt employees who were not subject to arbitration agreements and should not
27   include non-exempt employees with arbitration agreements. Thus, Plaintiff, who is not
28   subject to an arbitration agreement with a class and representative action waiver, as a matter
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 1   of law will not be an adequate representative of individuals who are so bound, and his
 2   claims will not be found to be typical of the claims of those individuals. See, e.g., Avilez v.
 3   Pinkerton Gov’t Servs., Inc., 596 F. App’x 579, 579 (9th Cir. 2015) (holding that the district
 4   court abused its discretion by certifying classes and subclasses that included employees
 5   who had signed class action waivers: “To the extent the classes and subclasses include
 6   individuals who signed class action waivers, [plaintiff] Avilez is not an adequate
 7   representative, Fed. R. Civ. P. 23(a)(4), and her claim lacks typicality, Fed. R. Civ. P.
 8   23(a)(3).”); Tschudy v. J.C. Penney Corp., No. 11-cv-1011 JM (KSC), 2015 U.S. Dist.
 9   LEXIS 165897, at *11-12 (S.D. Cal. Dec. 9, 2015) (holding that named plaintiffs failed to
10   satisfy typicality and adequacy requirements of Rule 23(a) where the putative class
11   members were subject to arbitration provisions while the named plaintiff was not); Quinlan
12   v. Macy’s Corp. Servs., No CV1200737DDPJCX, 2013 U.S. Dist. LEXIS 164724, at *7-9
13   (C.D. Cal. Aug. 22, 2013) (finding that the named plaintiff could not satisfy Rule 23’s
14   typicality requirement in part because approximately 94.5% of the putative class was
15   subject to an arbitration agreement while the named plaintiff was not).
16   4.    Prior and Pending Motions and Anticipated Motions
17         a. Prior and Pending Motions: On May 19, 2023, Defendant filed a Notice of Related
18   Cases and Notice of Pendency notifying the Court of the pending and related Avalos and
19   McInerny I (PAGA) actions. See Dkt. 11.
20         b. Anticipated Motions:
21                Plaintiff’s Statement:
22                Plaintiff will bring a motion for class certification. Plaintiff requests that he
23   be granted a 7 to 9 month period to conduct discovery before filing his certification motion.
24   Given that the Parties hope to avoid commencing discovery until after the December
25   mediation (with the Court’s approval), Plaintiff intends to file his motion for certification
26   in or about July 2024.
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 1                Defendant’s Statement: Defendant will oppose Plaintiff’s motions for class
 2   certification. Defendant may also file a motion for total or partial summary judgment
 3   should discovery support such a motion.
 4   5.    Extent to Which Parties, Claims, or Defenses Are Expected to Be Added or
 5         Dismissed and Proposed Deadline for Amended Pleadings
 6         Plaintiff’s Statement: Plaintiff does not presently intend to add parties or amend his
 7   pleadings, but reserves the right to do so as appropriate based upon later discovered
 8   information or as necessary to address concerns raised. Plaintiff also reserves the right to
 9   add additional named representatives as appropriate.
10         Defendant’s Statement: None at this time.
11   6.    Initial Disclosures
12   Plaintiff served his initial disclosures on July 14, 2023. Defendant served its initial
13   disclosures on July 26, 2023. The Parties reserve the right to add witnesses to their lists as
14   they become known or circumstances warrant. The Parties agree to provide further non-
15   privileged documents responsive to the requirements of Rule 26 as soon as discovered.
16   7.    Discovery
17         Defendant anticipates filing a motion to consolidate pursuant to Rule 42 of the
18   Federal Rules of Civil Procedure in the U.S. District Court for the Eastern District of
19   California, seeking an order to consolidate this action with Avalos. Further, as indicated
20   above, the Parties have a global mediation scheduled for December 8, 2023 and request
21   that the Court provide them with sufficient time to mediate this matter prior to engaging in
22   formal discovery and preparation of the motion for class certification. Thus, the Parties
23   respectfully submit that this section of the Joint Report is unnecessary and premature.
24   Nevertheless, in an effort to comply with the Court’s Order, the Parties provide the
25   following report:
26         Plaintiff’s Position:
27         Plaintiff requests that he be granted a 7 to 9 month period to conduct discovery
28   before filing his certification motion.
                                                   7
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 1         Prior to mediation, Plaintiff will seek informal discovery related to class size
 2   information, Defendant’s relevant policies and procedures, job descriptions, Plaintiff’s
 3   records, tipping information, and an agreed upon sampling of the timecards and wage
 4   statements for the putative class members. If mediation fails, Plaintiff will seek formal
 5   discovery to prepare for certification. Plaintiff does not believe that discovery should be
 6   formally bifurcated between certification and merits issues. That said, Plaintiff does intend

 7   to focus on certification-related issues at the outset; however, it is often the case that class

 8   certification issues necessarily enmesh merits-based discovery. Without prejudice to her
     rights to seek discovery on any relevant issues, Plaintiff contemplates that she will need
 9
     discovery concerning the following:
10
           - Defendant’s policies, procedures, and practices pertinent to timekeeping, wage
11
               payments, minimum wage, tipping, overtime, off the clock work, calculation of
12
               overtime, meal periods, rest periods, payment of wages at separation and during
13
               employment, wage statements, reimbursements, and calculation and payment of
14
               premiums, and any changes in the policies and procedures during the relevant
15
               time period;
16
           - Defendants’ onboarding practices and procedures;
17
           - Management training materials and presentations;
18
           - Training documents and onboarding documents for putative class members;
19
           - Memoranda and communications to employees about the issues set forth in the
20
               complaint;
21
           - Class size information for the Class and each of the Subclasses;
22
           - Identification and contact information for the members of the Class;
23
           - Plaintiff’s employment, and the terms and conditions of such employment;
24
           - Job descriptions of the putative class;
25
           - Timecards, wage statements, paystubs, and payroll records for the putative class;
26
           - Electronic timekeeping and log in/off reports;
27
           - Staffing models, labor budgets, labor models, and coverage requirements;
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 1         - Schedules for putative class members
 2         - Complaints received from putative class members related to the claims in the
 3             complaint;
 4         - Defendant’s organizational charts;
 5         - Schematics and diagrams of the restaurants where employees worked;
 6         - Defendant’s defenses as identified in discovery and in its responsive pleading;
 7         - The arbitration agreements which Defendant contends cover members of the
 8             putative class.
 9         Plaintiff intends to commence discovery with written formal discovery. Plaintiff
10   will request documents relating to the above-specified categories, and propound
11   interrogatories and requests for admission. Plaintiff will seek contact information for the
12   putative class members subject to a protective order or Belaire process, if required.
13   Plaintiff believes that discussions with said individuals are critical to the investigation of
14   the claims and class certification. Once the first round of written discovery is complete,
15   Plaintiff intends to take percipient witness depositions and the depositions of Defendants’
16   Rule 30(6)(6) witness regarding topics largely mirroring the categories above. Plaintiff
17   will also seek to depose certain of the individuals offering declarations in support of
18   Defendant’s opposition to the motion for certification or motion for decertification.
19   Plaintiff reserves his rights to conduct discovery as to any documents and information
20   which are relevant to the claims or defenses at issue in this case.
21         Plaintiff intends to retain an expert to, among other things, review the time records
22   and wage statements for the putative class.
23         Plaintiff does not believe that discovery should be formally phased or limited but
24   will focus on certification-related inquiries at this juncture. Given this informal phasing,
25   Plaintiff contemplates that it may be necessary to conduct additional merits based
26   discovery (including a second round of expert reports) prior to trial once the Court renders
27   a decision on the certification motion.
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 1         Defendant’s Position:
 2         In the event mediation does not result in settlement, Defendant anticipates
 3   conducting discovery including written discovery, requests for document production, and
 4   depositions of Plaintiff and any of Plaintiff’s identified witnesses.
 5         Defendant believes discovery should be bifurcated into separate phases for class
 6   certification and conditional certification discovery, and then merits discovery. During the
 7   initial phase, Defendant anticipate conducting discovery on matters relevant to class
 8   certification and conditional certification, which will include written discovery, requests
 9   for documents and depositions of Plaintiff and any other identified witnesses regarding the
10   variations in policies and practices to applied to individual putative class members in
11   California and outside of California, and at Defendant’s individual worksites.
12   Additionally, Defendant believes that class certification should be limited to Putative Class
13   Members who were not subject to arbitration agreements and should not include Putative
14   Class Members with arbitration agreements.
15         Defendant is not presently requesting changes to discovery limitation imposed under
16   the Federal Rules of Civil Procedure. Defendant further contends that the number of
17   interrogatories permitted under Rule 33 are sufficient in this action.
18   8.    Related Cases or Proceedings
19         On May 19, 2023, Defendant filed a Notice of Related Cases and Notice of Pendency
20   notifying the Court of the pending and related Avalos and McInerny I (PAGA) actions. See
21   Dkt. 11.
22   9.    Relief Sought
23         Plaintiff’s Statement: Plaintiff seeks monetary damages (including without
24   limitation unpaid wages, premiums, penalties, liquidated damages, and other relief under
25   statute) and injunctive relief for violations of the California Labor Code and the Unfair
26   Competition Law.
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 1          Defendant’s Statement: Defendant contends that Plaintiff and the putative class have
 2   been properly compensated in accordance with all applicable laws. Defendant denies that
 3   Plaintiff and the putative class members are entitled to any relief.
 4   10.    Certificate of Interested Parties
 5          The undersigned counsel of record for Plaintiff and Defendant certify that the
 6   following listed parties have a direct, pecuniary interest in the outcome of this case. These
 7   representations are made to enable the Court to evaluate possible disqualification or
 8   recusal:
 9          1. Defendant Red Robin International, Inc., a Nevada corporation;
10          2. Plaintiff Nicholas J. McInerny; and
11          3. Plaintiff and counsel for Jose Jesus Avalos-Aviles.
12   11.    Discovery and Motions Cut-Off
13          Defendant anticipates filing a motion to consolidate pursuant to Rule 42 of the
14   Federal Rules of Civil Procedure in the U.S. District Court for the Eastern District of
15   California, seeking an order to consolidate this action with Avalos. Thus, the Parties
16   respectfully submit that this section of the Joint Report is unnecessary and premature.
17          Notwithstanding Defendant’s anticipated motion to consolidate the instant action
18   with Avalos, in the event the Court seeks to issue an order concerning discovery and motion
19   cut-off dates, the Parties respectfully request that the Court continue setting discovery and
20   motion cut-off dates to account for the Parties’ global mediation on December 8, 2023. To
21   this end, the Parties propose a further case management conference to be set after the
22   December 8, 2023 global mediation. In the event the Court disagrees, the Parties jointly
23   request the Court extend the deadline to file the motion for class certification to July 15,
24   2024 to account for the Parties’ global mediation on December 8, 2023.
25          The Parties also respectfully submit that the discovery, motion cut-off, pretrial
26   conference, and trial date should be set after class certification is decided. To this end, the
27   Parties propose a further case management conference to be set after the Court rules on
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 1   class certification.   In the event the Court disagrees, the Parties jointly propose the
 2   following scheduling deadlines:
 3                                Event                                Proposed Deadline
 4   Plaintiff’s Motion for Class Certification                     July 15, 2024
 5
 6   Defendant’s Opposition to Plaintiff’s Motion for Class August 5, 2024

 7   Certification

 8   Plaintiff’s Reply to Defendant’s Opposition to Plaintiff’s August 19, 2024

 9   Motion for Class Certification

10   Hearing on Plaintiff’s Motion for Class Certification          September 2, 2024
11
     Fact Discovery Completion Date                                 November 2, 2024
12
13
     Designation of Expert Witnesses Due                            November 2, 2024
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15
     Expert Rebuttal Disclosure                                     December 2, 2024
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17
     Expert Discovery Completion                                    January 3, 2025
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20    All Motions Due                                               February 14, 2025
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      Final Pretrial Conference                                     August 8, 2025 at 1:30
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                                                                    p.m. or ______________
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25    Trial                                                         October 6, 2025 at 10:00
26                                                                  a.m. or ___________
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 1   12.    Trial
 2          Defendant anticipates filing a motion to consolidate pursuant to Rule 42 of the
 3   Federal Rules of Civil Procedure in the U.S. District Court for the Eastern District of
 4   California, seeking an order to consolidate this action with Avalos. Thus, the Parties
 5   respectfully submit that this section of the Joint Report is unnecessary and premature.
 6          However, in an effort to comply with the Court’s Order, the Parties provide the
 7   following report:
 8          Plaintiff requests a jury trial, and estimates that the trial of the class action will take
 9   approximately 14-21 days and an individual trial will take approximately 5 days.
10   13.    Efforts to Resolve the Case and ADR
11          The Parties have voluntarily agreed to a private, global mediation of the instant
12   action, McInerny I (PAGA), and Avalos. See Dkt. No. 11 (Defendant’s Notice of Related
13   Cases and Notice of Pendency). The global mediation is with experienced mediator
14   Michael Dickstein and is scheduled for December 8, 2023. Pursuant to the Court’s Order
15   (see Dkt. 10, at 2 (“The parties must include the following information in their Joint
16   Report[:] . . . efforts made to settle or resolve the case to date, and the parties’ views as to
17   an appropriate plan for maximizing settlement prospects”)), the Parties respectfully submit
18   that the appropriate plan for maximizing settlement prospects is to continue setting
19   discovery and motion cut-off dates to account for the Parties’ global mediation on
20   December 8, 2023 or to set the relevant discovery and motion cut-off dates pursuant to the
21   dates listed in section 11 of this Joint Report.
22   14.    Complex
23          The Parties respectfully submit that the procedures set forth in the Manual on
24   Complex Litigation are not required.
25   15.    Dispositive Motions
26          Plaintiff’s Statement:
27          Plaintiff anticipates he will file a motion for total summary judgment or partial
28   summary judgment should discovery support such a motion.
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 1          Defendant’s Statement:
 2          Defendant anticipates it will file a motion for total summary judgment or partial
 3   summary judgment should discovery support such a motion.
 4   16.    Unusual Legal Issues
 5          Defendant anticipates filing a motion to consolidate pursuant to Rule 42 of the
 6   Federal Rules of Civil Procedure in the U.S. District Court for the Eastern District of
 7   California, seeking an order to consolidate this action with Avalos.
 8   17.    Severance, Bifurcation, or Other Ordering of Proof
 9          Plaintiff’s Statement:
10          As set forth above, Plaintiff does not believe that there should be any bifurcation of
11   the discovery process at this time. As to other issues of severance, bifurcation or ordering
12   of proof, Plaintiff does not presently request any such ordering, but reserves all rights as
13   appropriate.
14          Defendant’s Statement:
15          Defendant anticipates filing a motion to consolidate pursuant to Rule 42 of the
16   Federal Rules of Civil Procedure in the U.S. District Court for the Eastern District of
17   California, seeking an order to consolidate this action with Avalos. Thus, the Parties
18   respectfully submit that this section of the Joint Report is unnecessary and premature.
19
20
21 Dated September 21, 2023                        JACKSON LEWIS P.C.
22
23                                         By:      /s/ Philip J. Smith
                                                   Adam Y. Siegel
24
                                                   Philip J. Smith
25                                                 Martin P. Vigodnier
26
                                                  Attorneys for Defendant
27                                                RED ROBIN INTERNATIONAL, INC.
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                                                  14
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 1
     Dated September 21, 2023                JAMES HAWKINS APLC
 2
 3
                                     By:      /s/ James R. Hawkins
 4                                           James R. Hawkins
 5
                                             Attorneys for Plaintiff
 6
                                             NICHOLAS J. MCINERNY
 7
 8
 9 Dated September 21, 2023                  FARNAES & LUCIO, APC

10
11                                   By:      /s/ Christina Lucio
                                             Malte L. L. Farnaes
12                                           Christina Lucio
13
                                             Attorneys for Plaintiff
14                                           NICHOLAS J. MCINERNY
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